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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, )
) CASE NO. CR21-174 JCC
Plaintiff, )
)
V. )
) DETENTION ORDER
MARIO ALBERTO AMADOR-GARCIA __ )
)
Defendant. )
)

 

Offenses charged:

1. Conspiracy to Distribute Controlled Substances

Date of Detention Hearing: December 2, 2021.

 

The Court, having conducted a detention hearing pursuant to 18 U.S.C. §3142(f) and
based upon the factual findings and statement of reasons for detention hereafter set forth, finds
that no condition or combination of conditions which defendant can meet will reasonably assure

the appearance of defendant as required and the safety of other persons and the community.

FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

 

1. Defendant has been charged with a drug offense, the maximum penalty of which

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is in excess of ten years. There is therefore a rebuttable presumption against defendant as to
both dangerousness and flight risk, under 18 U.S.C. § 3142(e). Defendant has an extensive
ties to Mexico, which is his primary residence. The nature and circumstances of the charged
offense involve significant quantities of controlled substances that Defendant both trafficked
and possessed in his temporary residence, along with two firearms. The government also
alleges that Defendant was engaged in the proposed exchange of narcotics for firearms for use
in Mexico. Defendant does not contest detention at this time.

3. There does not appear to be any condition or combination of conditions that will
reasonably assure the defendant’s appearance at future Court hearings while addressing the
danger to other persons or the community.

It is therefore ORDERED:

1. Defendant shall be detained pending trial, and committed to the custody of the Attorney
General for confinement in a correction facility separate, to the extent practicable, from
persons awaiting or serving sentences or being held in custody pending appeal;

2. Defendant shall be afforded reasonable opportunity for private consultation with counsel;

3. On order of the United States or on request of an attorney for the Government, the person
in charge of the corrections facility in which defendant is confined shall deliver the
defendant to a United States Marshal for the purpose of an appearance in connection with a
court proceeding; and

4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel for

/I/

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the defendant, to the United States Marshal, and to the United State Probation Services
Officer.
DATED this 2nd day of December 2021.

rar ondion,

S. KATE VAUGHAN
United States Magistrate Judge

 

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